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            Case 3:20-cv-00617-E-BN Document 3 Filed 03/11/20                                                                                           Page 49 of 60 PageID 53




!I you are not satisfied ..,;Ill the deds!on of the Gnevance Boord, you have 3 days In v.t\ich to appaal (in writing) to the JaK Administrator.

    I
The Assillant Cl'tief Deputy .,.,;y review the grievance and either confirm or deny it. If the Assistinl Chief Depu1y confirms the gdellonce, he/she woll initiate a>rredive actions. In either cese, the mmete shall
~· wrltt n - t o the appeal.

   I
tf you are not satisfied with the dedsioo of the Jail Administrator, you nave 3 days in wtwch to appeal (in wnting) to the C111el Deputy. 1 he Chl&l Devut1 wiilatsvlcr.., ~he g:-iE-..·cn··;cc :;."''C ru~.cr ~r.f':'r."l or ~e!'l't
illf !he Ctwof Deputy conHrms HI& gri&vanee, he/she .,.,;uiniliate rorrective adions. In either case, the Inmate shall rauivo a wr1tten response to the appeal . The deCiSIOn of the Chief Deputy Is final .

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                               GOV ERNOR GR EG ABBOTT



August 13, 2018




Mr. Larry Kuchenmeister
kuchenlarrv l r'a),gmail.com

Dear Mr. Kuchenmeister:

Thank you for taking the time to contact the Office of the Governor.

In Texas, cities and counties have significant autonomy and authority, and local law enforcement
falls within the jurisdiction of local officials. As such, you may wish to express your
dissatisfaction to the mayor, police chief and city council.

Please let us know whenever we may be of service in the future.

Sincerely,




Dede Keith
Deputy Director
Constituent Communication Division
Office of the Governor

DK:as




         POST 0HI CE BOX 12428 AUSTIN, TEXAS   78711512-463-2000 (VOI CE) DIAL 7-1-1 FOR R ELAY SERVICES
Case 3:20-cv-00617-E-BN Document 3 Filed 03/11/20   Page 51 of 60 PageID 55




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         Case
JOHN CORNYN     3:20-cv-00617-E-BN Document 3 Filed 03/11/20               Page 52 of 60 PageID 56
   TEXAS




                                           WASHINGTON, DC 20510-4305



                                               November 8, 2018



       Mr. Larry Kuchenmeister
       3 716 London Lane
       Richland Hills, Texas 76118

       Dear Mr. Kuchenmeister:

       I have received your recent letter and regret the problem you describe does not appear to be one
       over which I have jurisdiction as a United States Senator. Consequently, I am unable to afford
       you the assistance you requested.

       I appreciate having the opportunity to represent you in the United States Senate. If I can be of
       assistance to you with other matters, please contact me.

       Sincerely,



       10 ~,~
       Uni ed States Senator

       JC:dmm
                                      STA TE
          Case 3:20-cv-00617-E-BN Document 3 OF  TEXAS
                                              Filed 03/11/20 Page 53 of 60 PageID 57
             DISABILITY DETERMINA TION FOR SOCIAL SECURITY ADMINISTRATION
                                       A USTIN, TEXAS
                                              Equal Opportu nity Empl oy e r

August 30, 2016




         LARRY KUCHENMEISTER
         3716 LONDON LANE
         RICHLAND HILLS TX 76118

                                                                  SSN : XXX-XX-3839
                                                                  CLAH1 # : CQTCL3



Dear LARRY KUCHENMEISTER :
The purpose of this letter is to remind you to keep your Social Security disability
examination with:

Doctor :    FORT WORTH I ME
Address :   4632 DENTON HWY STE D
            HALTOM CITY TX 76117-1407
Telephone : (817) 281-4731
Appointments: September 09 , 2016 01 : 00 P

Tlli,,   exdmi.uat.ion i::, necessary   1:0   evalual:e your condltion ana will be at no cost: to
you.

It is your responsibility and in your best interest to attend the requested
examination .   If you cannot keep the scheduled appointment,          please call us
immediately. If you fa i l to keep the appointment without notifying us beforehand, we
will make a dec is ion based on the evidence in your file , which may result in a
finding of no disability .   IF YOU ARE RECEIVING CHECKS OR MEDICAID/MEDICARE BENEFITS ,
THOSE CHECKS AND/OR BENEFITS MAY STOP .

Thank you for your cooperation .

Sincerely ,

Beth Johnson     3/J66
Tel: 1-800-252-7009 ext 8912

cc :

CE: CLREM (07/16)
RBA
3/2/2018                                                 j ustice 1 .dentoncounty.com/PublicAccess/Sea rch .aspx? ID= 1 00

                     Case 3:20-cv-00617-E-BN Document 3 Filed 03/11/20                                     Page 54 of 60 PageID 58
                                                Criminal Case Records Search Results


 Record Count: 5
 Search By: Defendant Exact Name: on Party Search Mode: Name Last Name: Kuchenmeister First Name: lar
 Case Number              Citation Number       Defendant Info           ~~~~~ocation/Jud i cia l   Type/Status

                          107                   Kuchenmeister, Larry     12/02/1998                  Hot Checks
                                                09/13/1964               Justice of the Peace Pet #5 Disposed
                                                                         Gailey, Barbara
                          108                   Kuchenmeister, Larry     12/02/1998                  Hot Checks              ISSUANCE OF BAD CHECK
                                                09/13/1964               Justice of the Peace Pet #5 Disposed
                                                                         Gailey, Barbara
     I,.   .   i ~   l\                         Kuchenmeister, Larry     04/07/1999                 Adult Misdemeanor        THEFT >=$20 <$500 BY CHECK
                                                09/13/1964               County Criminal Court #1   Inactive: Disposed
                                                                         Crouch , .dm E.
                                                Kuchenmeister, Larry     06/21/20:14                Hot Check                THEFT >=$20<$500 BY CH ECK
                                                09/13/1964               County Criminal Court #4   Inactive: Disposed
                                                                         Bridges. Joe
                                                Kuchenmeister, Larry     03/10/2010                 Adult Misdemeanor        DUTY ON STRIKING FIXTURE/HWY
                                                09/13/1964               County Criminal Court #1   Inactive: Disposed       LANDSCAPE>=$200
                                                                         Crouch , Jim E.




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Case 3:20-cv-00617-E-BN Document 3 Filed 03/11/20         Page 59 of 60 PageID 63




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                       Case 3:20-cv-00617-E-BN Document
JS 44 (Rev. 06/ 17)- TXND (Rev. 06/ 17)                 3 FiledSHEET
                                                CIVIL COVER     03/11/20                                                                       Page 60 of 60 PageID 64
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This fonn , approved by the Judicial Conference of the United States in September 1974, is reqUired for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTR UCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS ) .....                           )                       ~        \ _                               DEFENDANTS                  ; l L{ O C>         9     ~ ~ {q
               }_ o r       r'1 JC..v ch e () fVle> s..,--ef                                                                B. . A ~~               \r)c'lq                   p rr '-f
        (b)                                       D~ 0 i-o (\
                 County of Residen ce of First Listed Plaintiff
                                      (EXCEPT IN U.S. PLA.INTIFF CASES)
                                                                                                                       NOTE:


        (C)      Attorneys (Finn Name, Address, and Telephone Number)                                                   Attorneys (If Known)




    II. BASIS OF JURISDICTION (Place an "X" inOne BoxOnlyJ

"XI            U.S . Government
                  Plaintiff
                                           0 3 Federal Question
                                                    (U.S. Government Not a Pa rty)


               U.S. Government             04 Diversity
                 Defendant                          (Indicate C itizenship of Parties in Item Ill)




    IV NATURE OF SUIT (Place an
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                                                    "X " in One Box Only)
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    0   II 0Insurance                         PERSONAL INJURY                   PERSONAL INJURY            0 625 Drug Related Seizure          0 422 Appeal 28 USC 158         0 375 False Claims Act
                                          0 3 10 Airplane                  0 365 Personal Injury -        ~                                    0 423 Withdrawal                0 376 Qui Tam (3 1 USC
                                                                                                               6
    0   120 Marine                                                                                                    of Property 21 USC 881
    0   130 Miller Act                    0 315 Airplane Product                  Product Liability                90 Other                            28   usc 157                    3729(a))
    0   140 Negotiable lnstrwnent               Liability                  0 367 Health Case/                                                                                  0   400 State Reappmtionment
    0   150 Recovery of Overpayment      0 320 Assault, Libel &                  Pharmaceutical                                                                'KmHTS          0   410 Antitrust
            & Enforcement of Judgment           Slander                          Personal Injury                                               a 820 Copyrights                0   430 Banks and Banking
    0   151 Medicase Act                 0 330 Federal Employers'                Product Liability                                             0 830 Patent                    0   450 Commerce
    0   152 Recovery of Defaulted               Liability                  0 368 Asbestos Personal                                             0 835 Patent - Abbreviated      li(:60  Deportation
            Student Loans                0 340 Marine                             Injury Product                                                     New Drug Application          470 Racketeer Influenced and
            (Excludes Veterans)           a345 Marine Product                    Liability                                                     0 840 Trademask                         CotrUpt Organizations
    0   153 Recovery of Overpayment             Liability                   PERSONAL PROPERTY                               JAIJUJ(                :;(J(.;JAL ISM   UJUI       0 480 Consumer Credit
            of Veteran's Benefits        0 350 Motor Vehicle            ~70 Other Fraud                    0 710 Fair Labor Standasds          0 861 HIA ( 1395ff)             0 490 Cable/Sat TV
    0   160 Stockholders' Suits          0 355 Motor Vehicle                  71 Truth in Lending                     Act                      0 862 Black Lung (923)          0 850 Securities/Commodities/
        190 Other Contract                     Product Liability              80 Other Personal            a 720 Labor/Management              a   863 DIWC/DIWW (405(g))              Exchange
    0   195 Contract Product Liability   0 360 Other Personal                    Property Damage                     Relations                 ~64 SSID Title XVI              0 890 Other Statutoty Actions
    a   196 Franchise                          Injury                      0 385 Property Damage           0   740 Railway Labor Act                65 RSJ (405(g))            a  891 Agricultusal Acts
                                         0 362 Personal Injury -                 Product Liability         0   75 1 Family and Medical                                         a  893 Environmental Matters
                                               Medical Malpractice                                                   Leave Act                                                 a  895 Freedom oflnfonnation
               REAL PROPt:RTY                ClVLRIGHTS                PIUS<:: NER I'&TITIONS              0   790 Other Labor Litigation        'PEQ&RA lfAXSJJITS                    Act
    0 210 Land Condemnation              ~~40 Other Civil Rights         Habeas Corpus:                    0   79 1 Employee Retirement        0 870 Taxes (U.S. Plaintiff     0 896 Arbitration
    0 20 Foreclosure                                                  0 463 Alien Detainee                                                                                     ~S99 Administrative Procedure
                                         ~r
                                                                                                                    Income Security Act                or Defendant)
       30 Rent Lease & Ejectment               Voting
                                            42 Employment             0 510 Motions to Vacate                                                  0 871 IRS- Third Pasty                  Act/Review or Appeal of
    0 240 Torts to Land                     43 Housing/                      Sentence                                                                  26   usc 7609           )(      Agency Decision
    0 245 Tort Product Liability         ~                            0 530 General
                                              4
                                               Accommodations                                                                                                                     5950 Constitutionality of
    0 290 All Other Real Property           45 Amer. w/Disabilities - 0 535 Death Penalty                                           •IVN                                               State Statutes
                                         ~' Employment                   Other :                           0 462 Naturalization Application
                                            46 Amer. w/Disabilities - 0 540 Mandamus & Other               0 465 Other lmmigrstion
                                               Other                  ) (550 Civil Rights                            Actions
                                         0 448 Education              0 555 Prison Conditi on
                                                                      0 560 Civil Detainee -
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                                                                             Confinement

. V. ORIGIN                (Piacean "X"in OneBoxOnly)


X       I      Original
               Proceeding
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                                                                                                                                0                             0 6                        D 8 Multidistrict
                                                                                                                                                                                             Litigation -
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    VII. REQUESTED IN     0                         CHECK IF THIS IS A C      SS ACTION                                                                     CHECK YES only if demanded in complaint:
         COMPLAINT:                                 UNDER RULE 23 , F .R.Cv .P .                                                                            JURY DEMAND:            0 Yes        D No

    VIII. RELATED CASE(S)
                                                  (See instructions):
          IF ANY                                                           JUDGE                                                                   DOCKET NUMBER
    DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD


    FOR OFFICE USE ONLY

        RECEIPT #                      AMOUNT                                     APPLYING IFP                                        JUDGE                            MAG. JUDGE
